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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

WARREN BERES, et al.,                       )
                                            )
    Plaintiffs,                             )
                                            )           Nos. 03-785L, 04-1456L, 04-
v                                           )           L 457 L, 0 4- I 458L, O 4- r 459L, 0 4-

                                            )           I 463L, O 4- L 465L, O 4- I 466L, 0 4-
UNITED STATES,                              )           I 467 L, O 4- L 468L, 0 4- I469L, 0 4-
                                            )           r47LL, 04-t472L, 04-1473L, 04-
 Defendant.                                 )            L47 4L
                                            )
                                            )           The Honorable Marian Blank Horn
                                            )



                       DECLARATION OF RAY SPENCER



     I, Ray Spencer, make the following declaration:

     1. I and my wife Lael Spencer are Plaintiffs in this case. We purchased our property along
East Lake Sammamishin 1992.

     2. Since the time of our purchase, we have used on a regular basis the area within the
railroad right of way that lies both west and east of the railbed as if it were our own.

     3. Shortly after moving in to our property, we were notified by the Burlington Northern
Railway that we would need a crossing permit from the railroad company to continue to have the

access road to the lane that provides access to all properties within the unrecorded plat of Willis

Connell. I told Burlington Northern that all it has is an easement, that I owned the fee, that I had

the right to use the right of way area in front of my house in any manner which does not interfere

with the railroad's easement, and that I did not need the railroad's permission. I never heard




Declaration of Ray Spencer 1


                                                                                             Ex. 5-1
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from the railroad again. V/e have continued to allow the people in the neighborhood to use that

access road to access the lane that leads to their homes.

    4. My wife and I have possessed the entire railroad right of way in the following manner.
On the west side of the railroad tracks, at the time of our purchase there was a grassy area

between the railroad tracks and the lane that provides access to my neighbors. In that grassy area,

I installed a garden, a raised bed for flowers and installed large boulders around the perimeter. I

have continued to maintain these features every year since they were installed.

    5. Because I was became the president of an organization that was challenging King
County's construction of a trail on the railroad right of way without permits, King County

personnel came one day with heavy equipment and removed my raised garden. After contacting

an attorney, County personnel or contractors replaced my garden. The garden structures were

gone for approximately two months and that is the only time since our purchase of the property

that the raised garden was not there. It has been used and maintained on a regular basis both

before and after that time.

   6. On the east side of the railroad tracks and within the railroad right of wa¡ I continued to
allow children to use a shelter while waiting for the school bus. I have maintained aflagpole in

that area ever since we purchased the property until this day. On the west and north side of the

shelter, I maintained the area every year by removing blackbeny bushes and using the area for

creating compost. There are also fruit trees behind the shelter that I have maintained since we

purchased the property until this day and from which I harvest fruit each year.

   7. Attached hereto as Exhibit A is a true and correct copy of a drawing prepared by Eric
LaBrie of ESM Consulting Engineers. I met with Mr. LaBrie on January 4,2018 and explained

to him our use of the right of way since we purchased the property in 1992. Exhibit A generally



Declaration of Ray Spencer 2


                                                                                            Ex. 5-2
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that these areas actually run together. For instance, there is no area of non-use between Areas C

and D or between Area D and railroad track. Also, Exhibit A does not show the area north of the

shelter that we've used for composting and have maintained by removing blackberries.

    8. Basically, since we purchased the properly until the present, we have used the entire right
of way on a regular basis as it were our own by actively maintaining the landscaping and

sfiuctures located in the right of way. There is no portion of the right of way that we have not

used regularly since our purchased the properly. Other than King County after 1998, no one ever

told me that we did not own the railroad right of way or that someone else owned it. Prior to

1998, no one except Burlington Northem railroad ever suggested that I needed permission to use

the right of way. Our possession of the right of way has been visible to anyone who thought they

might have owned it and no one ever came forward to make the claim that they owned the right

of way, with the exception of King County after 1998.


    I declare under penalty of perjury under the laws. of the Saæ of V/ashington that the foregoing is

true and correct and was executed by me   *tA(,      ofFebruary, 2A18, at

Washington.




                                               Ray




Declaration of Ray Spencer 3



                                                                                                 Ex. 5-3
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G:ESMJOBS\1991\001



  A) Bus shelter.
  B) Flagpole.
  C) Planted and maintained landscaping.
  D) Fruit trees planted, maintained and used for consumption
  E) Grass parking spaces prior to converting to garden space
     with water lines: t1992.                                                                                                                       .-)




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